Case 2:20-cv-04759-CMR Document4 Filed 12/09/20 Page 1 of 4

iN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD A. GORMAN Civil Action
Vv.
ILYA SHPETRIK, ET AL. No: 20-CV-04759
ORDER
AND NOW, this day of 20 ___, itis hereby
ORDERED that the application of GEORGE SCHOOFF , Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

GRANTED.*

DENIED.

' This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registration
process for the Court's ECF system. Instructions and forms are available on the Court website.
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OFPENNSYLVANIA

Civil Action No# 20-cv-04799

APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

i, APPLICANT’S STATEMENT

i George Schooff the undersigned, am an attorney who is not currently admitted to

either the bar of this court or the bar of the Supreme Court of Pennsylvania, and | hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number. , for the $40.00 admission
fee.

A. | state that! am currently admitted to practice in the following state jurisdictions:
Michigan 1991 45596
(State where admitted) (Admission date) (Attorney Identification Number)
(State where admitted) (Admission date) (Attorney Identification Number}
(State where admitted) (Admission date) (Attorney Identification Number)
B. | state that | am currently admitted to practice in the following federaljurisdictions:
Eastern District of Michigan 4 993 45596
(Court where admitted) (Admission date) (Attorney Identification Number)
(Court where admitted) (Admission date) (Attorney Identification Number)
(Court where admitted) (Admission date) (Attorney Identification Number)
C I state that! am at present a member of the aforesaid bars in good standing, and that | will demean myself as an attorney

of this court uprightly and according to law, and fat | will support and defend the Constitution of the United States.

iam entering my appearance for

Richart A ‘ (rormen... eens cee
ALLO? [ZO7ZB
c=]

(Date)

Name of Applicant's Firm Legal Services Group. PLLC

Address 1247 Woodward Ave, #312, Detroit, MI 48226

Telephone Number 313-434-0502

Ernail Address schooff@legalservicesgroupplic.com

| declare under penalty of perjury that the foregoing is true and correct. (i,
a fo “PD
ecuied on 4 [ 05/202 i

(Date) —( (Applicant's Signature)

04/20
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il, SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
hereby moves for the admission of GEORGE SCHOOFF, ESQUIRE to practice
in said court pursuant to Local! Rule of Civil Procedure 83.5.2(b), and certify that | know (or after reasonable inquiry believe)
that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
private and personal character is good. | certify that this application form was on this date mailed, with postage prepaid, to
all interested counsel.

Patrick K. Gibson, Esq. / YP 1 0/1 2/201 7 31 5863

(Sponsor’s Name) Usponsor’s Signature) {Admission date) {Attorney
identification No.)

SPONSOR'S OFFICE ADDRESS AND TELEPHONE NUMBER:

IPPOLITI LAW GROUP
1225 N. King Street, Suite 900, Wilmington, DE 19801

(302) 428-1400

| declare under penalty of perjury that the foregoing is true and correct.

11/12/2020 /
(Date) LL /— (§péfisor’s Signature)

Executed on

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD A. GORMAN

Vv.

ILYA SHPETRIK, ET AL.

Civil Action

No.: 20-CV-04759

CERTIFICATE OF SERVICE

| declare under penalty of perjury that a copy of the application of George Schooff ,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:

Matthew J. Press, Esq.

PRESS KORAL LLP

641 Lexington Ave., 13th Floor
New York, NY 10022

Email: mpress@presskoral.com

soe of Me hoe
atrick. K. Gibson, Esq.

(Name of Attorney}
Richard A. Gorman

(Name of Moving Party)

ea Ant em tn) et : f
